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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   FT. PIERCE DIVISION

                               Case No.: 2:24-cv-14043-Middlebrooks

  COLLEEN DREW,

         Plaintiff,
  v.

  NATIONSTAR MORTGAGE LLC,
  EQUIFAX INFORMATION
  SERVICES LLC, and
  TRANS UNION LLC,

        Defendants.
  _________________________________/


                   PLAINTIFF’S NOTICE OF PENDING SETTLEMENT
              AS TO DEFENDANT EQUIFAX INFORMATION SERVICES LLC

         COMES NOW, Plaintiff, COLLEEN DREW (“Plaintiff”), by and through the

  undersigned counsel, and hereby notifies the Court that Plaintiff and Defendant, EQUIFAX

  INFORMATION SERVICES LLC (“Equifax”) have reached a conditional settlement in this

  action. Upon full compliance with the terms of such settlement, Plaintiff and Equifax will request

  that this matter be dismissed with prejudice.

  Dated: April 9, 2024



                                                  Respectfully submitted,

                                                  SWIFT LAW PLLC
                                                  /s/ Jon P. Dubbeld
                                                  Aaron M. Swift, Esq., FBN 0093088
                                                  Jordan T. Isringhaus, Esq., FBN 0091487
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                                               Counsel for Plaintiff

                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on April 9, 2024, I filed a true and correct copy of the above

  and foregoing Notice of Settlement via CM/ECF which will electronically serve all counsel of

  record:

                                               /s/ Jon P. Dubbeld
                                               Attorney for Plaintiff




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